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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 13-CR-271-LTS

ALSHAQUEN NERO,

                 Defendant.

-------------------------------------------------------x

                                                     ORDER

                 The Court has received the Government’s submission, by email to chambers, of

Defendant’s medical records, which were submitted in connection with Defendant’s motion for

compassionate release, as Exhibits A and B to the Government’s opposition (Docket Entry No.

977), and as Exhibit B and C to the Government’s sur-reply (Docket Entry No. 1003). The

Government is directed to file unredacted originals of those Exhibits with the Clerk’s Office, for

filing under seal, with a copy of this Order. Chambers will mail a copy of this Order to Mr.

Nero.


        SO ORDERED.

Dated: New York, New York
       November 2, 2020

                                                                      /s/ Laura Taylor Swain
                                                                      LAURA TAYLOR SWAIN
                                                                      United States District Judge
Copy mailed to:




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